Case 1:05-cr-10041-.]DT Document 8 Filed 06/13/05 Page 1 of 2

|N THE UN|TED STATES DlSTR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE
EASTERN D|\/|SlON

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l:ll.EL-} BVNLD
.C.

 

UN|TED STATES OF AMERICA,

P|aintiff,
v. Cr. No. 05-1004'[-T
ALEX LOU|S1

Defendant.

 

ORDER ON ARRA|GNN|ENT

 

This cause came to be heard on June 10, 2005. The Assistant United States Attorney
appeared on behalf of the government, and the defendant appeared in person and with the

following counsel, who is appointed:

NAME: Dianne Smothers, Asst. Federa| Defender
ADDRESS:

TELEPHONE'.

The defendant, through counsei, waived formal arraignment and entered a plea of not

guilty_

A|| motions shall be filed within thirty (30) days from the date hereof unless, for good cause

shown to a District Judge, such period is extendedl

The defendant, being held without bond pursuant to BRA of 1984, is remanded to the

esm/im @W

custody of the U.S. Marsha|.

S. THOl\/|AS ANDERSON

United States l\/iagistrate Judge

Charges: re-entry of deported aliens
Assistant U.S. Attorney assigned to case: Powel|

Rule 32 was not Waived.

This document entered on the docketii;et in compliance
with Rule 55 and/or 32(b) FRCrP on

 

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This notice confirms a copy of the document docketed as number 8 in
case 1:05-CR-10041 Was distributed by faX, mail, or direct printing on
June 13, 2005 to the parties listed.

 

 

M. Dianne Smothers

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U.S. ATTORNEY'S OFFICE
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Honorable J ames Todd
US DISTRICT COURT

